       Case 2:16-cr-00045-TLN Document 60 Filed 12/05/16 Page 1 of 3


 1   HEATHER E. WILLIAMS, SBN #122664
     Federal Defender
 2   JEROME PRICE, SBN # 282400
     Assistant Federal Defender
 3   Designated Counsel for Service
     801 I Street, 3rd Floor
 4   Sacramento, CA 95814
     Telephone: (916) 498-5700
 5   Fax: (916) 498-5710

 6   Attorneys for Defendant
     RALEIGH RANA FIGUERAS
 7
 8                             IN THE UNITED STATES DISTRICT COURT

 9                           FOR THE EASTERN DISTRICT OF CALIFORNIA

10
11   UNITED STATES OF AMERICA,                  )   Case No. 2:16-cr-00045-MCE
                                                )
12                      Plaintiff,              )   NOTICE OF EXCLUSION OF TIME AND
                                                )   ORDER TO EXCLUDE TIME
13   vs.                                        )
                                                )
14   MICHELE R. SERRANO et al.,                 )   Date: December 15, 2016
                                                )   Time: 10:00 a.m.
15                     Defendant.               )   Judge: Hon. Morrison C. England, Jr.
                                                )
16                                              )

17          PLEASE TAKE NOTICE that on November 21, 2016, the Court, by its own motion,
18   vacated and continued the December 7, 2016 status conference to December 15, 2016 at 10:00
19   a.m.
20          Based upon the foregoing, Assistant United States Attorney, Michelle Rodriguez,

21   attorney for Plaintiff, Defendant Michele Reyes Serrano, by and through her attorney of record,

22   Dina Lee Santos and Defendant Raleigh Rana Figueras, by and through his attorney of record,
23   Assistant Federal Defender Jerome Price, agree time under the Speedy Trial Act should be
24   excluded from December 7, 2016 through and including December 15, 2016, pursuant to 18
25   U.S.C. § 3161 (h)(7)(A) and (B(iv)[reasonable time to prepare] and General Order 479, Local
26   Code T4 based upon continuity of counsel and defense preparation. The Court finds that the ends

27   of justice served by granting defendant’s request for a continuance outweigh the best interest of

28

      Notice of Exclusion of Time and Order          -1-                U.S. v. Serrano et al., 16-cr-45-MCE
       Case 2:16-cr-00045-TLN Document 60 Filed 12/05/16 Page 2 of 3


 1   the public and defendant in a speedy trial. Time has previously been excluded through December

 2   7, 2016.

 3
 4                                              Respectfully submitted,

 5                                              HEATHER E. WILLIAMS
                                                Federal Defender
 6
 7   Date: November 29, 2016                    /s/ Jerome Price
                                                JEROME PRICE
 8                                              Assistant Federal Defender
                                                Attorneys for Defendant
 9                                              RALEIGH RANA FIGUERAS

10
     Date: November 29, 2016                    /s/ Dina Lee Santos
11                                              DINA LEE SANTOS
                                                Attorney for Defendant
12                                              MICHELE REYES SERRANO

13
                                                PHILLIP A. TALBERT
14                                              Acting United States Attorney

15
     Date: November 29, 2016                    /s/ Michelle Rodriguez
16                                              MICHELLE RODRIGUEZ
                                                Assistant United States Attorney
17                                              Attorneys for Plaintiff

18
19
20
21
22
23
24
25
26
27
28

      Notice of Exclusion of Time and Order       -2-                U.S. v. Serrano et al., 16-cr-45-MCE
       Case 2:16-cr-00045-TLN Document 60 Filed 12/05/16 Page 3 of 3


 1                                                ORDER

 2          Pursuant to the parties’ stipulation, the Court orders the time from December 7, 2016, up

 3   to and including December 15, 2016, excluded from computation of time within which the trial

 4   of this case must be commenced under the Speedy Trial Act, pursuant to 18 U.S.C. § 3161

 5   (h)(7)(A) and (B(iv)[reasonable time to prepare] and General Order 479, Local Code T4. The

 6   Court finds that the ends of justice served by granting defendant’s request for a continuance

 7   outweigh the best interest of the public and defendant in a speedy trial.

 8          IT IS SO ORDERED.

 9   Dated: December 2, 2016

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

      Notice of Exclusion of Time and Order          -3-                 U.S. v. Serrano et al., 16-cr-45-MCE
